
MaddeN, Judge;
dissents from the entry of the order of November 2,1960 (see footnote, ante, p. 470), as follows:
I do not agree to the substitution, made in the court’s order dated November 2, 1960, in the last paragraph of the order, the paragraph relating to William R. Giddens and others. I think that the opinion of June 8, 1960, was correct in this regard. The Government, in its motion for reconsideration and clarification, does not ask for such a complete reversal of the court’s position. It says, on page 5 of its brief:
In this respect it would seem that the Court would at least require those plaintiffs who have not reverted to offer some proof, such as affidavits, that had they known they could have reverted to warrant officer they would have done so within three months of their advancement on the retired list or within three months of the date of approval of the Act of June 19, 1948, supra, whichever was the later.
I think it is quite unfair to forfeit the rights of these plaintiffs for failure to make an election which, as the opinion of the court shows, they never had an opportunity to make.
*479In accordance with the opinion of the court and on a memorandum report of the commissioner as to the amount due thereunder, it was ordered on March 24,1961, that judgment for plaintiff Eobert Clark be entered for $1,773.03.
